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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION AT JACKSON

JENNIFER LOUIS JENKINS,                              )
Administrator ad Litem of the                        )
ESTATE OF STERLING L. HIGGINS,                       )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )       CIVIL ACTION NO.
                                                     )       1:20-cv-01056-STA-dkv
OBION COUNTY SHERIFF’S DEPARTMENT,                   )
OBION COUNTY, TENNESSEE,                             )
UNION CITY POLICE DEPARTMENT,                        )
UNION CITY, TENNESSEE,                               )
ROBERT THOMAS OSBORNE,                               )
individually, MARY BROGLIN, individually,            )
WAYLON SPAULDING, individually, and                  )
BRENDON SANFORD, individually,                       )
                                                     )
       Defendants.                                   )


                       AMENDED ANSWER1 OF DEFENDANT ROBERT
                      THOMAS ORSBORNE TO AMENDED COMPLAINT


       Robert Thomas Orsborne2 responds to the Amended Complaint as follows:

                                        FIRST DEFENSE


       1.      In response to the first sentence in ¶ 1, Orsborne admits plaintiff alleges she filed

the action under § 1983, the Americans with Disabilities Act, and state law. Orsborne denies

that he is liable to plaintiff under any of these statutes or common law. In response to the

second sentence, Orsborne denies he caused the death of Sterling Higgins. He admits the

remainder of the allegations in the second sentence. In response to the third sentence,

Orsborne denies the allegations.




1
  Orsborne files his amended answer pursuant to Fed. R. Civ. P. 15(a)(2) because Plaintiff and
co-Defendants have provided written consent via email for Orsborne to amend his answer.
2
  Robert Thomas Orsborne pronounces his last name “Osborne” but he spells his name
“Orsborne.”
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         2.        In response to ¶¶ 2, 33, 35, 37, 58, 59, 60, 61, 63, 64, 65, 66, 67, 71, 73, 74, 79,

82, and 83, Orsborne denies the allegations.

         3.        In response to ¶ 3, Orsborne admits this Court has jurisdiction over the federal

claims, but denies that this Court should exercise supplemental jurisdiction over the state-law

claims. Orsborne denies that he violated Higgins’s constitutional or statutory rights.

         4.        In response to ¶¶ 4, 5, 9, 14, 15, 16, 17, 20, 21, 28, 46, and 47, Orsborne

admits the allegations.

         5.        In response to the first sentence of ¶ 6, Orsborne admits the allegations. In

response to the second sentence, Orsborne is without knowledge or information sufficient to

form a belief as to the truth of the allegations.

         6.        In response to ¶¶ 7, 8, 11, 12, 13, 15, 30, 32, 40, 43, 44, 55, 57, 62, 69, 75,

76, 77, and 81, Orsborne is without knowledge or information sufficient to form a belief as to the

truth of the allegations.

         7.        In response to ¶ 10, Orsborne admits the allegations in the first sentence. In

response to the second sentence, Orsborne admits he was acting under color of law and that

Plaintiff is suing him in his individual capacity. Orsborne denies the rest of the allegations in the

second sentence.

         8.        In response to ¶ 18, Orsborne admits the allegations in the first and second

sentences. Orsborne denies the allegations in the third and fourth sentences.

         9.        In response to ¶ 19, Orsborne admits that Sgt. Simmons told Higgins that his

mother should be in the hospital and so should Higgins. As to plaintiff’s characterization as to

why Simmons said this, Orsborne is without knowledge or information sufficient to form a belief

as to the truth of the allegation.

         10.       In response to ¶ 22, Orsborne admits the allegations in the first and third

sentences. Orsborne denies the allegations in the second sentence.
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         11.       In response to the first and third sentences in ¶ 23, Orsborne admits the

allegations. Orsborne denies the allegations in the second sentence.

         12.       In response to ¶ 24, Orsborne admits the allegation regarding the time and date

that he took Higgins to the Obion County Jail. Orsborne denies the remainder of the allegations.

         13.       In response to the first sentence of ¶ 25, Orsborne admits the allegations.

Orsborne denies the allegations in the second sentence. Orsborne also denies the plaintiff’s

characterization of Higgins’s behavior. In response to the third sentence in ¶ 25, Orsborne

admits he did not take Higgins for an evaluation, but he denies that under the circumstances he

should have taken Higgins for evaluation.

         14.       In response to ¶ 26, Orsborne is without knowledge or information sufficient to

form a belief as to what defendant Broglin heard. Orsborne admits the remainder of the

allegations.

         15.       In response to the first sentence in ¶ 27, Orsborne admits the allegations. In

response to the allegations in the second sentence, Orsborne denies that Brogglin shoved Mr.

Higgins. In response to the third sentence, Orsborne admits that Higgins “took hold of some of

[Broglin’s] hair.” Orsborne is without knowledge or information sufficient to form a belief as to

the truth of the allegation that Higgins only briefly took hold of Broglin’s hair. In response to the

fourth sentence in ¶ 27, Orsborne admits Higgins was handcuffed, but denies the remainder of

the allegations.

         16.       In response to the first sentence of ¶ 29, Orsborne admits the allegations.

Orsborne. Orsborne denies the allegations in the second and third sentences. In response to

the fourth and the sixth sentences, Orsborne is without knowledge or information sufficient to

form a belief as to the truth of the allegations. In response to the fifth sentence, Orsborne denies

that he was on top of Higgins.

         17.       In response to the first sentence in ¶ 31, Orsborne admits the allegations. In
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response to the second sentence, Orsborne admits that Sanford and Broglin put leg restraints

on Higgins.

         18.       In response to the first, second and fourth sentences in ¶ 34, Orsborne denies

the allegations. In response to the third sentence, Orsborne admits that at some point Higgins

stopped moving and appeared to be limp. Orsborne is without knowledge or information

sufficient to form a belief as to the truth of the remainder of the allegations.

         19.       In response to the first sentence in ¶ 36, Orsborne denies the allegations. In

response to the second, third, and fifth sentences, Orsborne admits the allegations. In response

to the fourth and sixth sentences, Orsborne is without knowledge or information sufficient to

form a belief as to the truth of the allegations. Admits the allegations. Orsborne denies the rest

of the allegations in ¶ 36.

         20.       In response to the first and second sentences in ¶ 38, Orsborne denies the

allegations. In response the third sentence, Orsborne admits that there were times when

Higgins was alone in the cell.

         21.       In response to the first sentence in ¶ 39, Orsborne admits the allegations.

Orsborne denies the allegations in the second sentence.

         22.       In response to ¶ 41, Orsborne admits he left the cell, used his telephone, and

that he walked in the hallway. Orsborne denies the rest of the allegations.

         23.       In response to ¶ 42, Orsborne admits that Sgt. Simmons entered Higgins’s cell at

approximately 2:13 a.m. and checked on the unconscious Higgins.

         24.       In response to ¶ 45, Orsborne denies that he was involved in removing Higgins

from the restraint chair.

         25.       In response to ¶ 48, Orsborne admits the video cameras at the jail recorded




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events involving Mr. Higgins. To the extent the video shows the events described in ¶ 48,

Orsborne admits the allegations. Orsborne denies the self-serving descriptions. Orsborne also

denies that he violated Mr. Higgins’s federal constitutional rights.

         26.       In response to ¶ 49, Orsborne denies that he stood “upon Mr. Higgins’s body” in

any way that interfered with Mr. Higgins’s breathing. As for a description of what the videos

show, Orsborne denies the allegations to the extent the video contradicts the descriptions. But

to the extent the descriptions of events shown in the video are accurate, Orsborne admits the

allegations.

         27.       In response to ¶ 50, Orsborne denies that he committed the alleged acts, and he

denies that he violated Mr. Higgins’s federal constitutional rights. As for a description of what

the videos show, Orsborne denies the allegations to the extent the video contradicts the

descriptions in paragraph 50. Orsborne denies the self-serving descriptions. Orsborne lacks

knowledge or information sufficient to form a belief as to the allegation that the “white substance

… was likely pulmonary fluid … which clearly indicated Mr. Higgins was in dire need of

immediate medical attention.”

         28.       In response to the first sentence of ¶ 51, Orsborne lacks knowledge or

information sufficient to form a belief as to the truth of the “lifeless body” allegation. Orsborne

admits the rest of the allegations in that sentence. Orsborne admits the allegations in the

second and third sentences. In response to the fourth sentence, Orsborne lacks knowledge or

information sufficient to form a belief as to the truth of the “lifeless body” allegation. To the

extent the video shows events described in paragraph 51, Orsborne admits the allegations.

         29.       In response to ¶¶ 52-54, Orsborne admits the allegations factually describing

what is shown in the videos. To the extent that the allegations describe Mr. Higgins’s body as

being “lifeless,” Orsborne lacks knowledge or information sufficient to form a belief as to the

truth of these allegations. Orsborne denies he violated Mr. Higgins’s federal constitutional rights.
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Orsborne denies that he dragged Mr. Higgins’s body. As for the white-substance allegations,

Orsborne admits that it appears on the video there is something around Mr. Higgins’s nose.

Orsborne lacks knowledge or information sufficient to form a belief as to the truth of any

allegations regarding what the “white substance” is.

         30.       In response to the first and second sentences in ¶ 56, Orsborne admits the

allegations, but again denies that his employer is the “Union City Police Department.” Orsborne

denies the allegations in the third sentence.

         31.       In response to ¶ 68, Orsborne incorporates his responses to ¶¶ 1 through 67 of

the Complaint as if restated verbatim herein.

         32.       In response to ¶ 70, Orsborne incorporates his responses to ¶¶ 1 through 69 as if

restated.

         33.       In response to ¶ 72, Orsborne incorporates his responses to ¶¶ 1 through 71 as if

restated.

         34.       In response to ¶ 78, Orsborne incorporates his responses to ¶¶ 1 through 77 as if

restated.

         35.       In response to ¶ 80, Orsborne incorporates his responses to ¶¶ 1 through 79 as if

restated.

         36.       In response to ¶ 84, Orsborne demands a jury, too.

         37.       In response to ¶ 85, Orsborne denies that plaintiff is entitled to damages or any

other form of relief from him.

                                          SECOND DEFENSE

         Because Orsborne did not violate a clearly established right of which a reasonable

police officer would have known, he is entitled to defense of qualified immunity.




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                                          THIRD DEFENSE

         Plaintiff has failed to state a Fourteenth Amendment claim against Orsborne on behalf of

Higgins’s minor children.

                                          FOURTH DEFENSE

         Plaintiff has not stated claims against Orsborne under Rehabilitation Act or under Title II

of the Americans with Disabilities Act.

                                           FIFTH DEFENSE

         Plaintiff alleges that Orsborne is liable because he violated “the applicable . . . medical

standards of care.” To the extent plaintiff is asserting a healthcare liability claim, plaintiff has

failed to state a claim.

                                          SIXTH DEFENSE

         Orsborne relies upon the doctrine of comparative fault under Tennessee law as it may

apply to the allegations in the First Amended Complaint. Orsborne alleges that Higgins death

was the result of his own intentional, reckless, and/or negligent acts. To the extent that the trier

of fact concludes that Higgins or other Defendants were guilty of some negligent act, then the

fault should be assigned to the Plaintiff or other Defendants in proportion to the percentage of

negligence attributed to their actions or inactions.

                                        SEVENTH DEFENSE

         To the extent Plaintiff is alleging state law claims, Orsborne relies upon any and all

immunities and defenses pursuant to the Tennessee Governmental Tort Liability Act, Tenn.

Code Ann. § 29-20-101 et seq.




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                                       Respectfully submitted,


                                       RAINEY, KIZER, REVIERE & BELL, P.L.C.

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                                   CERTIFICATE OF SERVICE

        On August 5, 2020, I electronically filed this document using the Court's electronic filing
system. The electronic filing system will serve a copy on counsel for the other parties on the
electronic filing report. All other parties will be served by facsimile, e-mail, or regular U.S. Mail.
Parties may access this filing through the Court's electronic filing system.


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                                                        s/ Dale Conder Jr.
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